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\ UNITED STATES DISTRICT COURT

DISTRICT OF CONNECTICUT
L. LEE WHITNUM, : DOCKET NO. 3:17-cv-1362
Plaintiff-Appellant, :
vs.
THE TOWN OF WOODBRIDGE,

ROBERT B. CROWTHER (PERSONALLY

and PROFESSIONALLY), FRANK

P. CAPPIELLO (PERSONALLY and :

PROFESSIONALLY), : September 12, 2019
Defendants-Appellees.

AFFIDAVIT IN SUPPORT OF

EMERGENCY MOTION FOR DISQUALIFICATION
1. This affidavit is to accompany, and in support of, the Emergency Motion for
Disqualification filed on September 3, 2019. This litigant was a little brusque to Judge
Janet Hall. She was a bit shocked to learn about Judge Hall’s husband and reacted
spontaneously. This litigant apologizes.
2. There can be no doubt as to this litigant’s involvement in the American Peace
Community as she has been outspoken against AIPAC (The American Israel Public
Affairs Committee) a.k.a the Israel Lobby. In at least three public forums prior to the
apperance of Judge Hall onto this case, this litigant, was publically critical of AIPAC.
Here are three highly publicized clashes with Congressman Jim Himes (CT-D), Senator
Christopher Murphy (D-CT) and Governor Dannell Malloy (D-CT). There was a great
deal of publicity; the YouTube links are the proof. This litigant believes, no reasonably
aware resident of Connecticut, could not be aware of this litigant’s public stands against

AIPAC as all three of the following were televised. They are listed as the following:
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a. As acongressional candidate this litigant was vocal against AIPAC - 2008, in a
televised Congressional debate, Whitnum questioned fellow candidate Jim
Himes (D-CT) on his then recent trip to Israel — citing AIPAC’s involvement in the
pledge to Israel trips.

https:/Awww. youtube.com/watch?v=JJfiéb1Owml!

b. Next, in a televised debate in 2012 Lee Whitnum called her fellow candidate —
Senator Chris Murphy (D-CT) a “whore” for denying the existence of AIPAC.

https:/www.youtube.com/watch?v=6uJ_ZI25B4M

c. Here is the News 12 report of the Dannell Malloy press conference.

https:/Awww. youtube.com/watch?v=eW-UdTZssRc

4. This litigant has been publically outspoken against AIPAC. For being so
outspoken, this litigant claims sne has been through “eight years of hell’ in the
Connecticut Court system — subjected to all manner of the violation of her rights. This
litigant, to ensure no further bias, believes Judge Hall should step down and recuse
herself from any case having to do with this litigant. This is based on the fact that Hall’s
husband, David Schaefer, is a current member of the Anti-Defamation League (ADL),
and former member of the National Executive Committee, of the ADL, an AIPAC
member organization. His leadership in the ADL at the national level proves he is as
passionate about the fight for the best interests of Israel, as this litigant is the opposite,
passionate against the U.S. funding of Israel as counterproductive to the wellbeing of

the United States. This is not James Carvel and Mary Matlin, these are deeply-held

core beliefs, and spouses are usually aligned, Schaefer's role on the National Executive
 

 

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Committee of the ADL, is enough for this litigant to ask Judge Janet Hall to please step

x

down.

5. | swear that the above, and the contents of the Emergency Motion for

Disqualification filed on September 3, 2019, are true to the best of my knowledge. | am,

ae
J. A

 

Lisa Lee Whitnum Baker
Subscribed and Swom to bef
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and State of Connecticut, i thls festa
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Spires fer: 30, = 2020

 
 

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CERTIFICATION
| hereby certify that on Sept. 12, 2019, a copy of the foregoing was filed
electronically and served by email on anyone unable to accept electronic filing.
Kirsten & Tallberg, LLC
500 Enterprise Drive, Suite 4B
Rocky Hill, CT 06067
Notice of this filing will be sent by e-mail to all parties by operation of the Court's

electronic filing system or by mail to anyone unable to accept electronic filing. Parties

may access this filing through the Court’s system.

Sincerely, La
Lo V7

Lisa Lee Whitnum Baker
